                 Case: 1:22-cv-02259 Document #: 28 Filed: 10/20/22 Page 1 of 3 PageID #:1992

                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:       ,QWHUIRFXV,QF                                                                                     Plantiff(s)

                                                                            VS.

                  Hangzhou +LEDE\7HFKQRORJ\&R/WG                                                              Defendant(s)
                  DQG+LEREL7HFKQRORJ\/LPLWHG
Case Number:                                                      Judge:
 2:22-cv-02259                                                                   Steven C. Seeger



I,   Ziyong Li                                                                                              hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Hangzhou Hibaby Technology Co., Ltd. and Hibobi Technology Limited by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
                                           See attachment




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes     X             No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
              Case:
Has the applicant ever 1:22-cv-02259
                       been:                 Document #: 28 Filed: 10/20/22 Page 2 of 3 PageID #:1993
sanctioned, censured, suspended, disbarred, or otherwise disciplined by
any court?                                                                            Yes                   No      X

or is the applicant currently the subject of an investigation of the                  Yes                   No      X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                   No      X
bar of any court?

                                                                                      Yes                   No      X
denied admission to the bar of any court?

                                                                                      Yes                   No      X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


October 19, 2022                                         S/ Li Ziyong

                 Date                                               Electronic Signature of Applicant

                            Last Name                                   First Name                                   Middle Name/Initial
Applicant’s Name
                           Li                                        Ziyong
Applicant’s Law Firm
                           Benesch Friedlander Coplan & Aronoff LLC
                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                           100 Pine Street                                                                          3100
                                                                                       Work Phone Number
                            City                        State           ZIP Code       628.600.2239

                           San Francisco               CA            94111             Email Address
                                                                                       SLi@beneschlaw.com

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $18.00 The fee for pro hac vice admission is $150.00. Admission to the general
      bar permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular
      case only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. /3/20
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                                             Ziyong Li

                                         Court Admissions

 COURT                                                       ADMISSION DATE
 California Superior Court                                   06/03/2013
 U.S. District Court, Western District of Washington         07/25/2012
 U.S. District Court, Eastern District of Texas              08/20/2015
 U.S. District Court, Central District of California         02/01/2021
 U.S. District Court, Northern District of California        04/29/2019
 U.S. Court of Appeals, 9th Circuit                          08/27/2020




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